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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA, ex rel.
 VERMONT NATIONAL TELEPHONE
 COMPANY,
            Plaintiff,                                    Civil Action No. 15-0728 (CKK)
 v.
 NORTHSTAR WIRELESS LLC, et al.,
            Defendants.

                 AMENDED SCHEDULING AND PROCEDURES ORDER
                               (March 20, 2023)

        Per the parties' Modified Joint Discovery Plan, ECF No. 145-1, the Court enters this
amended scheduling and procedures order. The Court will hold the parties responsible for
following these directives; failure to conform to this Order’s directives may, when appropriate,
result in the imposition of sanctions.

I.     COMMUNICATIONS WITH THE COURT. The parties should endeavor to keep
communications with Chambers to a minimum. Ex parte communications on matters other than
scheduling are strictly prohibited; if the parties need to contact Chambers, it must be done jointly
pursuant to a conference call arranged by the parties.

II.    MOTIONS FOR EXTENSIONS OF TIME AND RE-SCHEDULING OF
HEARINGS. Motions for extensions of time and to re-schedule hearings are strongly discouraged;
they will be granted only in truly exceptional or compelling circumstances and parties should not
expect the Court to grant extensions. The Court will not entertain or honor stipulations for
extensions of time or for the re-scheduling of hearings; parties must file a written motion in
accordance with the following instruction:

               (a)       Motions for extensions of time must be filed at least four (4) business
                         days prior to the first affected deadline.

               (b)       Motions to continue a hearing must be filed at least four (4) business
                         days prior to the scheduled hearing.

               (c)       All motions for extensions of time and for re-scheduling of hearings must
                         include the following or they will not be considered:

                                (i)    The specific grounds for the extension or the re-scheduling
                                       of the hearing;

                                (ii)   The number of previous extensions or continuances, if any,
                                       granted to each party;
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                              (iii)   A statement of the impact that the requested extension or
                                      continuance would have on all other previously set
                                      deadlines;

                              (iv)    A proposed schedule for any other affected deadlines, to be
                                      proposed only after consulting with opposing counsel; and

                              (v)     A statement of whether or not opposing counsel opposes the
                                      motion in accordance with Local Civil Rule 7(m).

        3.       DISCOVERY DISPUTES. The parties are referred to Local Civil Rule 26.2 and
are expected to fully comply with its directives. Moreover, counsel are required, under both
Federal Rule of Civil Procedure 26(f) and Local Civil Rule 7(m), to confer in good faith in an
effort to resolve any discovery dispute before bringing it to the Court’s attention. The parties
shall not file a discovery motion without prior consultation with opposing counsel. If, in what
should be the unusual case, the parties are unable to resolve their discovery dispute, counsel shall
contact Chambers jointly in order to arrange for a telephone conference with the Court.

       4.      DEPOSITIONS. Counsel must adhere to the following guidelines when taking a
deposition:

               (a)     Counsel for the deponent shall refrain from gratuitous comments and from
                       directing the deponent as to times, dates, documents, testimony, and the
                       like;

               (b)     Counsel shall refrain from cuing the deponent by objecting in any manner
                       other than stating an objection for the record followed by a word or two
                       describing the legal basis for the objection;

               (c)     Counsel shall refrain from directing the deponent not to answer any question
                       except for reasons which conform to Federal Rule of Civil Procedure
                       30(c)(2);

               (d)     Counsel shall refrain from engaging in dialogue on the record during the
                       course of the deposition;

               (e)     If counsel for any party or person given notice of the deposition believes
                       that these conditions are not being adhered to, that counsel may call for
                       suspension of the deposition and then immediately apply to the Court for a
                       ruling and remedy. When appropriate, the Court will impose sanctions;

               (f)     All counsel are to conduct themselves in a civil, polite, and professional
                       manner. The Court will not countenance incivility or other behavior during
                       the deposition demonstrating that the examination is being conducted in bad
                       faith or to simply annoy, embarrass, or oppress the deponent; and




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             (g)    In accordance with Federal Rules of Civil Procedure 30(d)(1), no deposition
                    may last more than seven hours (exclusive of breaks), except by leave of
                    the Court or stipulation of the parties.

      5.      MOTIONS GENERALLY. Parties must comply with the following instructions
when briefing any motion:

             (a)    Memoranda of points and authorities filed in support of or in opposition to
                    any motion may not, without leave of the Court, exceed forty-five (45)
                    pages, and reply memoranda may not exceed twenty-five (25) pages, with
                    margins set at one inch and with all text double-spaced (excepting
                    footnotes) and in twelve-point Times New Roman (including footnotes).

             (b)    A party may not file a sur-reply without first requesting leave of the Court.

             (c)    Where a party fails to file a memorandum of points and authorities in
                    opposition to a given motion, the Court may treat the motion as conceded,
                    except with respect to motions for summary judgment. See L. Civ. R. 7(b);
                    Winston & Strawn, LLP v. McLean, 843 F.3d 503, 505-08 (D.C. Cir. 2016)
                    (citing, e.g., Fed. R. Civ. P. 56(e)(3)). Similarly, where a party fails to
                    respond to arguments in opposition papers, the Court may treat those
                    specific arguments as conceded. Phrasavang v. Deutsche Bank, 656 F.
                    Supp. 2d 196, 201 (D.D.C. 2009).

             (d)    Exhibits shall be properly edited to exclude irrelevant material and to
                    direct the Court’s attention to the pertinent portions thereof.

             (e)    Each submission shall be accompanied by a table of cases and other
                    authorities cited therein.

             (f)    Every pleading or paper, regardless of whether it is signed by an attorney or
                    a pro se party, shall contain the name, address, telephone number, and, for
                    an attorney, bar identification number. L. Civ. R. 5.1(c).

       6.      MOTIONS FOR SUMMARY JUDGMENT Parties must comply with the
following instructions when briefing motions for summary judgment and the Court may strike
papers not in conformity therewith:

             (a)    The Court strictly adheres to the dictates of Local Civil Rule 7(h), which
                    requires that each party submitting a motion for summary judgment attach
                    a statement of material facts for which that party contends there is no
                    genuine dispute, with specific citations to those portions of the record upon
                    which the party relies in fashioning the statement. The party opposing the
                    motion must, in turn, submit a statement enumerating all material facts
                    which the party contends are genuinely disputed and thus require trial. L.
                    Civ. R. 7(h)(1). The parties are strongly encouraged to carefully review
                    Jackson v. Finnegan, Henderson, Farabow, Garrett & Dunner, 101 F.3d
                    145 (D.C. Cir. 1996), on the subject of Local Civil Rule 7(h).
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               (b)    The moving party’s statement of material facts shall be a short and concise
                      statement, in numbered paragraphs, of all material facts as to which the
                      moving party claims there is no genuine dispute. The statement must
                      contain only one factual assertion in each numbered paragraph.

               (c)    The party responding to a statement of material facts must respond to each
                      paragraph with a correspondingly numbered paragraph, indicating
                      whether that paragraph is admitted or denied. If a paragraph is admitted
                      only in part, the party must specifically identify which parts are admitted
                      and which parts are denied.

               (d)    The Court may assume that facts identified by the moving party in its
                      statement of material facts are admitted, unless such facts are controverted
                      in the statement filed in opposition to the motion. L. Civ. R. 7(h)(1).

               (e)    The responding party must include any information relevant to its response
                      in its correspondingly numbered paragraph, with specific citations to the
                      record. However, if the responding party has additional facts that are not
                      directly relevant to its response, it must identify such facts in consecutively
                      numbered paragraphs at the end of its responsive statement of facts. If
                      additional factual allegations are made, the opponent must file a
                      responsive statement of its own.

               (f)    The parties must furnish precise citations to the portions of the record on
                      which they rely; the Court need not consider materials not specifically
                      identified. Fed. R. Civ. P. 56(c)(1)(A), (c)(3).

        7.     MOTIONS FOR RECONSIDERATION. Motions for reconsideration of prior
rulings are strongly discouraged. Such motions shall be filed only when the requirements of
Federal Rules of Civil Procedure 54(b), 59(e), and/or 60(b) are met. If such a motion is filed, it
shall not exceed ten (10) pages in length. Moreover, the Court will not entertain: (a) motions
which simply reassert arguments previously raised and rejected by the Court; or (b) arguments
which should have been previously raised, but are being raised for the first time. Fielding v. BT
Alex Brown, 116 F. Supp. 2d 59, 65 (D.D.C. 2000). Motions not in compliance with these
instructions may be stricken.

        8.     SETTLEMENT. The parties are expected to evaluate their respective cases for
purposes of settlement. The Court encourages the use of alternative dispute resolution—e.g.,
mediation or neutral case evaluation. The use of these methods is available at any time, as is a
settlement conference before a magistrate judge. If counsel are interested in pursuing these
options, they may contact Chambers at any time. If the case settles in whole or in part, counsel
shall promptly advise the Court.

       9.      APPEARANCES AT HEARINGS. Principal trial counsel must appear at all
hearings unless excused by the Court in advance.

       It is FURTHER ORDERED that the parties shall adhere to the following schedule:


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               (a)    Initial Disclosures shall be due on or before November 23, 2022.
               (b)    Motions to amend pleadings or to join additional parties shall be due
                      on or before January 10, 2023; with oppositions thereto due on or before
                      January 24, 2023; and replies, if any, due on or before January 31,
                      2023.
               (c)    Proponent’s Rule 26(a)(2)(B) & (C) Disclosures shall be due on or
                      before November 28, 2023; with the Opponent’s Rule 26(a)(2)(B) & (C)
                      Disclosures due on or before January 4, 2024; and replies, if any, due on
                      or before February 5, 2024.
               (d)    All discovery shall be completed, and all discovery-related motions
                      filed (motions to compel, motions to quash, motions for sanctions under
                      Fed. R. Civ. P. 37, etc.) on or before March 6, 2024.
               (f)    Each group of Defendants (Northstar Wireless LLC and associated
                      Defendants, SNR Wireless HoldCo, LLC and associated Defendants, and
                      DISH Wireless Holding, LLC and associated Defendants) is limited to 25
                      interrogatories. Defendants collectively are limited to 60 interrogatories.
                      In addition to those already served, Relator is limited to 25 document
                      requests. Defendants are limited to 75 document requests. As delineated
                      above, each group of Defendants and Relator are each limited to 35
                      depositions, exclusive of experts. The parties are limited to 25
                      admissions.
               (i)    The next Status Hearing is hereby set for March 11, 2024 at 10:00 AM
                      ET, to proceed via videoconference.
       Additional dates will be set as necessary. The dates identified above are firm; the Court
has endeavored to give the parties the schedule that they have requested and expects that they will
adhere to that schedule.

       SO ORDERED.



Date: March 20, 2023                                 ____/s/________________________
                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge


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